              Case 23-41280-btf7                   Doc 1     Filed 09/15/23 Entered 09/15/23 09:07:13                         Desc Main
                                                             Document     Page 1 of 69
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Western District of Missouri        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Adrena
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Monique
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Mason
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Adrena Monique Johnson
2.    All other names you
                                        Achieving Financial Excellence. A
      have used in the last 8
      years                             Missouri Limited Liability Company
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           5    1    9    7
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           2201 N York St                                                 _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Independence                         MO        64058
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Jackson County                                                 _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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                Adrena Monique Mason
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 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            
                                            ✔
                                              Chapter 7
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13

 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                  deficiency that makes me                                          deficiency that makes me
                                                                  incapable of realizing or making                                  incapable of realizing or making
                                                                  rational decisions about finances.                                rational decisions about finances.
                                               Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                  to be unable to participate in a                                  to be unable to participate in a
                                                                  briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                  through the internet, even after I                                through the internet, even after I
                                                                  reasonably tried to do so.                                        reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                   duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                    No. Go to line 16b.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                 No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                        No
                                       ✔
    administrative expenses
    are paid that funds will be         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                     
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                      50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                 
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                    
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Adrena Monique Mason
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    09/14/2023
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Tracy L. Robinson                                             Date          _________________
                                                                                                                                09/14/2023
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Tracy L. Robinson
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  The Law Offices of Tracy L. Robinson, LC
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 600 E. 8th Street
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite A
                                                _________________________________________________________________________________________________

                                                 Kansas City                                                     MO            64106
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 8168421317
                                                              ______________________________         Email address
                                                                                                                     tracyr@tlrlaw.com
                                                                                                                      _________________________________________



                                                 36691                                                           MO
                                                ______________________________________________________ ____________
                                                Bar number                                              State




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 Fill in this information to identify your case:

 Debtor 1
                     Adrena Monique Mason
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Missouri District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 250,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 14,021.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 264,021.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 251,556.78
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 121,235.32
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 372,792.10
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 8,334.41
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 8,330.21
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       11,044.24
                                                                                                                                         $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                               0.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
              Case 23-41280-btf7                                Doc 1             Filed 09/15/23 Entered 09/15/23 09:07:13                                                                  Desc Main
                                                                                 Document      Page 10 of 69

Fill in this information to identify your case and this filing:

                     Adrena Monique Mason
Debtor 1
                     First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Western District of
Missouri
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 2201 N York St                                                             Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Independence MO                 64058
                                                                                   Land                                                                         $ 250,000.00                        $ 250,000.00
            City                    State   ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Jackson County                                                         Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check                                     Fee simple
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 250,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤             $ 0.00




                                                                                                                                                                                                                page 1 of 5
           Case 23-41280-btf7                      Doc 1    Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor 1      Adrena Monique Mason
             First Name       Middle Name   Last Name
                                                           Document      Page 11 of 69     Case number(if known)



 Part 3:    Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                  Current value of the
                                                                                                                              portion you own?
  6. Household goods and furnishings                                                                                          Do not deduct secured
                                                                                                                              claims or exemptions.
       Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe...

       5 beds, 3 dressers, 3 chest of drawers, 3 night stands, sectional, couch, loveseat, chair, coffee table, 2 side
       tables, entertainment set, dining room table with chairs, clothes washer & dryer, 2 refrigerators, dishwasher,
       stove, small kitchen appliances, linens, cooking and eating utensils, hand and power tools, wall hangings,              $ 2,250.00
       knickknacks, grill, fire pit, yard tools and equipment, etc. Jointly owned with non-filing spouse. Only Debtor's 1/2
       interest is shown as the "value".
  7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

           No
           Yes. Describe...

       2 televisions, 4 smart phones;, iPad, , etc. Jointly owned with non-filing spouse. Only Debtor's 1/2 interest is
                                                                                                                               $ 500.00
       shown as the "value".
  8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

           No
           Yes. Describe...
  9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments

           No
           Yes. Describe...

      Above Ground Pool (20' round)                                                                                            $ Unknown
  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe...
  11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe...

      Wearing apparel & shoes                                                                                                  $ 200.00
  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                 gold, silver

           No
           Yes. Describe...

       Misc. "other" jewelry
                                                                                                                               $ 225.00
       Wedding rings
  13. Non-farm animals
       Examples: Dogs, cats, birds, horses

           No
           Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
           No
           Yes. Give specific information...




                                                                                                                                            page 2 of 5
             Case 23-41280-btf7                                      Doc 1              Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor 1          Adrena Monique Mason
                First Name            Middle Name           Last Name
                                                                                       Document      Page 12 of 69     Case number(if known)



 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤           $ 3,175.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 23.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     UMB Bank                                                                                                                         $ 7.00

        17.2. Other financial account:                              CashApp                                                                                                                          $ 0.00

        17.3. Other financial account:                              Venmo                                                                                                                            $ 0.00

        17.4. Other financial account:                              PayPal                                                                                                                           $ 0.00

        17.5. Savings account:                                      UMB Bank                                                                                                                         $ 16.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
        Type of account                         Institution name
        Retirement account:                     Retirement plans through employer with Fidelity Retirement Plans (403(b); 457(b); & 401(a) - approx.                                                 $ 0.00
                                                account balance is $18,388.57.
  22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                  companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................




                                                                                                                                                                                                                 page 3 of 5
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Debtor 1          Adrena Monique Mason
                First Name          Middle Name   Last Name
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  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
             No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...

           Approx. pro rata portion of 2023 federal income tax refund (note EIC or ACTC), Approx. 2023             Federal:           $ 10,800.00
           Earned Income Credit and Additional Child Tax Credit                                                    State:             $ 0.00
                                                                                                                   Local:             $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
       Company name:                                                                            Beneficiary:                          Surrender or
                                                                                                                                      refund value:
       Term life insurance through employer                                                                                           $ 0.00
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
       off claims
             No
             Yes. Give specific information....

       Possible claims against Blue World Pools for, inter alia, FDCPA violation(s)                                                    $ Unknown




                                                                                                                                                      page 4 of 5
                Case 23-41280-btf7                                    Doc 1              Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor 1            Adrena Monique Mason
                  First Name            Middle Name           Last Name
                                                                                        Document      Page 14 of 69     Case number(if known)



  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤            $ 10,846.00


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                     $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                  $ 250,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 3,175.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 10,846.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 14,021.00                         Copy personal property total➤         +$
                                                                                                                                                                                                               14,021.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 264,021.00




                                                                                                                                                                                                                    page 5 of 5
               Case 23-41280-btf7                  Doc 1         Filed 09/15/23 Entered 09/15/23 09:07:13                                    Desc Main
                                                                Document      Page 15 of 69
 Fill in this information to identify your case:

                     Adrena Monique Mason
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Missouri District of __________
                                                                                      (State)
 Case number
  (If known)
                     ___________________________________________                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                         exemption you claim

                                                              Copy the value from                     Check only one box
                                                              Schedule A/B                            for each exemption
                 2201 N York St                                                                                                      Mo. Rev. Stat. § 513.475 .1
 Brief
 description:
                                                                        250,000.00
                                                                       $________________           15,000.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:       1.1
              Household Goods - 5 beds, 3 dressers, 3 chest of                                                                       Mo. Rev. Stat. § 513.430 1.(1)
 Brief        drawers, 3 night stands, sectional, couch, loveseat,
 description: chair, coffee table, 2 side tables, entertainment set,
                                                                         2,250.00
                                                                       $________________           2,250.00
                                                                                                ✔ $ ____________

              dining room table with chairs, clothes washer &                                    100% of fair market value, up to
 Line from dryer, 2 refrigerators, dishwasher, stove, small                                         any applicable statutory limit
 Schedule A/B:       6
              Electronics - 2 televisions, 4 smart phones;, iPad, ,                                                                  Mo. Rev. Stat. § 513.430 1.(1)
 Brief        etc. Jointly owned with non-filing spouse. Only
 description: Debtor's 1/2 interest is shown as the "value".
                                                                         500.00
                                                                       $________________           500.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                             2
                                                                                                                                                             page 1 of __
             Case 23-41280-btf7 Doc 1 Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor          Adrena Monique Mason Document
               _______________________________________________________
                                                                       Page 16 of Case
                                                                                   69 number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                    Amount of the                        Specific laws that allow exemption
                                                                           Current value of the   exemption you claim
         on Schedule A/B that lists this property                          portion you own
                                                                          Copy the value from    Check only one box
                                                                           Schedule A/B           for each exemption
               Clothing - Wearing apparel & shoes                                                                                       Mo. Rev. Stat. § 513.430 1.(1)
Brief
description:
                                                                            200.00
                                                                           $________________         200.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         11
               Jewelry - Misc. "other" jewelry                                                                                          Mo. Rev. Stat. § 513.430 1.(2)
Brief
description:                                                               $________________
                                                                            25.00                 
                                                                                                  ✔ $ ____________
                                                                                                      25.00
                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:         12
               Jewelry - Wedding rings                                                                                                  Mo. Rev. Stat. § 513.430 1.(2)
Brief
description:                                                               $________________
                                                                            200.00                
                                                                                                  ✔ $ ____________
                                                                                                      200.00
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:        12
               Cash on Hand (Cash on Hand)                                                                                              Mo. Rev. Stat. § 513.430.1(3)
Brief
description:
                                                                            23.00
                                                                           $________________         23.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:       16
               UMB Bank (Checking Account)                                                                                              Mo. Rev. Stat. § 513.430.1(3)
Brief
description:
                                                                            7.00
                                                                           $________________         7.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:       17.1
               UMB Bank (Savings Account)                                                                                               Mo. Rev. Stat. § 513.430.1(3)
Brief
description:
                                                                            16.00
                                                                           $________________         16.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:       17.5
             Retirement plans through employer with Fidelity                                                                            11 USC § 541(c)(2), 11 USC §
Brief        Retirement Plans (403(b); 457(b); & 401(a) - approx.                                                                       522(b)(2)(A), RSMo § 513.430.1(10)(f),
description: account balance is $18,388.57.
                                                                            0.00
                                                                           $________________       $ ____________                      and RSMo § 513.430.1(10)(e).
                                                                                                  
                                                                                                  ✔ 100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:          21
               Approx. pro rata portion of 2023 federal income tax                                                                      Mo. Rev. Stat. § 513.430.1(3)
Brief          refund (note EIC or ACTC) (owed to debtor)
description:
                                                                            1,800.00
                                                                           $________________         554.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:          28
               Approx. pro rata portion of 2023 federal income tax                                                                      Mo. Rev. Stat. § 513.440
Brief          refund (note EIC or ACTC) (owed to debtor)
description:
                                                                            1,800.00
                                                                           $________________       $ ____________
                                                                                                  ✔   1,246.00
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         28
               Approx. 2023 Earned Income Credit and Additional Child                                                                   Mo. Rev. Stat. § 513.430 1.(10)(a)
Brief          Tax Credit (owed to debtor)                                  9,000.00
description:                                                               $________________       $ ____________
                                                                                                  
                                                                                                  ✔ 100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:          28
               Term life insurance through employer                                                                                     Mo. Rev. Stat. § 513.430 1.(8)
Brief
description:
                                                                            0.00
                                                                           $________________       $ ____________
                                                                                                  
                                                                                                  ✔ 100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:         31
               Possible claims against Blue World Pools for, inter alia,                                                                Mo. Rev. Stat. § 513.440
Brief        FDCPA violation(s) (owed to debtor)
description:
                                                                            Unknown
                                                                           $________________         1,394.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:           34


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                       2
                                                                                                                                                         page ___ of __  2
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                                                                      Document      Page 17 of 69
  Fill in this information to identify your case:

  Debtor 1           Adrena Monique Mason
                     First Name                               Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name
                                                                    Last Name



  United States Bankruptcy Court for the: Western District of Missouri

  Case number                                                                                                                                          Check if this is
  (if know)                                                                                                                                            an amended
                                                                                                                                                       filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:        List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A               Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of              Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not               collateral that   portion If any
                                                                                                              deduct the value       supports this
                                                                                                              of collateral.         claim
 2.1                                                            Describe the property that secures the claim: $ 251,556.78           $ 250,000.00      $ 1,556.78


        The Money Source, Inc                                 2201 N York St, Independence, MO 64058 - $250,000.00
        Creditor’s Name
        Attn: Customer Care
        Number                                                As of the date you file, the claim is: Check all
                     Street
        500 South Broad Street, Suite 100A                    that apply.
                                                                 Contingent
        Meriden CT            06450                              Unliquidated
        City         State    ZIP Code                           Disputed
        Who owes the debt? Check one.
          Debtor 1 only                                       Nature of lien. Check all that apply.
          Debtor 2 only                                          An agreement you made (such as mortgage or
                                                                 secured car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
               Check if this claim relates to a                  Other (including a right to offset)
               community debt                                 Last 4 digits of account number
        Date debt was incurred 8/23/2021

       Add the dollar value of your entries in Column A on this page. Write that number here:                         $ 251,556.78


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
                Case 23-41280-btf7                        Doc 1      Filed 09/15/23 Entered 09/15/23 09:07:13                              Desc Main
                                                                    Document      Page 18 of 69
   Fill in this information to identify your case:

                   Adrena Monique Mason
   Debtor 1
                   First Name                                Last Name
                                       Middle Name

   Debtor 2
   (Spouse, if filing) First Name           Middle Name
                                                                  Last Name



   United States Bankruptcy Court for the: Western District of Missouri

   Case number                                                                                                                                       Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                    Last 4 digits of account number
         American First Finance                                                                                                                            $ 2,177.18
         Nonpriority Creditor's Name
                                                                         When was the debt incurred?

         PO Box 565848                                                   As of the date you file, the claim is: Check all that apply.
         Number                                                             Contingent
                       Street
         Dallas TX          75356                                           Unliquidated
         City     State     ZIP Code                                        Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                 Student loans
             Debtor 1 and Debtor 2 only                                     Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
             At least one of the debtors and another                        Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                     debts
             debt                                                          Other. Specify
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 1 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name         Middle Name     Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                          09:07:13          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 19 of 69
  4.2                                                                      Last 4 digits of account number
          Blue World Pools                                                                                                                   $ 30,000.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          120 Interstate N Pkwy E SE #426                                  As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Atlanta GA             30339                                        Unliquidated
          City        State      ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                      Last 4 digits of account number 7668
          Capital One Bank (USA) NA / Quicksilver                                                                                             $ 4,740.24
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          Inquiries/Bankruptcy Department                                  As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          PO Box 30285                                                        Unliquidated
                                                                              Disputed
          Salt Lake City UT              84130-0285
                                                                           Type of NONPRIORITY unsecured claim:
          City                   State   ZIP Code
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify 2316-CV20844
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                      Last 4 digits of account number 1379
          Capital One Bank (USA) NA / WalMart                                                                                                  $ 568.61
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          Inquiries/Bankruptcy Department                                  As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          PO Box 30285                                                        Unliquidated
                                                                              Disputed
          Salt Lake City UT              84130-0285
                                                                           Type of NONPRIORITY unsecured claim:
          City                   State   ZIP Code
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                      page 2 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name         Middle Name   Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                        09:07:13          Desc Main
                                                                                                             number(if known)

                                                                       Document      Page 20 of 69
  4.5                                                                    Last 4 digits of account number 7600
          Cash Central of Missouri                                                                                                         $ 2,074.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          84 E 2400 N                                                    As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Logan UT             84341                                        Unliquidated
          City      State      ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                    Last 4 digits of account number 2856
          CashNetUSA                                                                                                                       $ 2,095.18
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          175 W Jackson Blvd.                                            As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          #1000                                                             Unliquidated
                                                                            Disputed
          Chicago IL              60604
                                                                         Type of NONPRIORITY unsecured claim:
          City         State      ZIP Code
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                    Last 4 digits of account number 2151
          Celtic Bank/Indigo                                                                                                                $ 272.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          PO Box 4499                                                    As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Beaverton OR              97076                                   Unliquidated
          City            State     ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name           Middle Name   Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                          09:07:13          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 21 of 69
  4.8                                                                      Last 4 digits of account number 1886
          C&F Finance Company                                                                                                                $ Unknown
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          1313 E Main St                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Suite 400                                                           Unliquidated
                                                                              Disputed
          Richmond VA                 23219
                                                                           Type of NONPRIORITY unsecured claim:
          City            State       ZIP Code
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify 1916-CV02655 - Repossession Deficiency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                      Last 4 digits of account number 0294
          Citibank/The Home Depot                                                                                                             $ 175.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          Centralized BK Dept                                              As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          PO Box 790034                                                       Unliquidated
                                                                              Disputed
          Saint Louis MO               63179
                                                                           Type of NONPRIORITY unsecured claim:
          City                State    ZIP Code
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Credit First N.A.                                                   Last 4 digits of account number
                                                                                                                                             $ 1,929.46
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          6275 Eastland Rd                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Brookpark OH                44142                                   Unliquidated
          City            State       ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                     page 4 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name           Middle Name    Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                           09:07:13          Desc Main
                                                                                                                number(if known)

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  4.11 Credit One Bank                                                      Last 4 digits of account number 0399
                                                                                                                                               $ 817.55
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          PO Box 98873                                                      As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          Las Vegas NV                89193                                    Unliquidated
          City                State   ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.12 Credit One Bank                                                      Last 4 digits of account number 0668
                                                                                                                                              $ 1,358.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          PO Box 98873                                                      As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          Las Vegas NV                89193                                    Unliquidated
          City                State   ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.13 Discover Bank                                                        Last 4 digits of account number
                                                                                                                                              $ Unknown
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          Inquiries/Bankruptcy Department                                   As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          PO Box 30943                                                         Unliquidated
                                                                               Disputed
          Salt Lake City UT               84130
                                                                            Type of NONPRIORITY unsecured claim:
          City                   State    ZIP Code
          Who owes the debt? Check one.                                       Student loans
              Debtor 1 only                                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              Debtor 2 only
                                                                               Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                       debts
              At least one of the debtors and another                         Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                     page 5 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name        Middle Name   Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                       09:07:13          Desc Main
                                                                                                            number(if known)

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  4.14 Firestone/Bridgestone America's                                  Last 4 digits of account number 0964
                                                                                                                                           $ 1,929.46
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          200 4th Avenue S                                              As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Nashville TN            37201                                    Unliquidated
          City           State    ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.15 Home Depot Credit Services                                       Last 4 digits of account number 6830
                                                                                                                                          $ 10,290.76
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 790340                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Wyanet IL              61379                                     Unliquidated
          City        State      ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Business Debt - Personally Guaranteed
          Is the claim subject to offset?
              No
              Yes

  4.16 Inc Authority                                                    Last 4 digits of account number
                                                                                                                                            $ 179.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1450 Vassar St                                                As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Reno NV             89502                                        Unliquidated
          City      State     ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Business Debt - Personally Guaranteed
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                      page 6 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name           Middle Name     Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                            09:07:13          Desc Main
                                                                                                                 number(if known)

                                                                           Document      Page 24 of 69
  4.17 Independence Pediatrics                                               Last 4 digits of account number 4663
                                                                                                                                                $ 172.92
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          4731 S Cochise Dr                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                                Contingent
                        Street
          Suite 100                                                             Unliquidated
                                                                                Disputed
          Independence MO                  64055
                                                                             Type of NONPRIORITY unsecured claim:
          City                   State     ZIP Code
          Who owes the debt? Check one.                                        Student loans
              Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                        debts
              At least one of the debtors and another                          Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.18 Landry & Jacobs, LLC                                                  Last 4 digits of account number
                                                                                                                                                  $ 50.00
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          50 North Laura St., Suite 2500                                     As of the date you file, the claim is: Check all that apply.
          Number                                                                Contingent
                        Street
          Jacksonville FL                32202                                  Unliquidated
          City                State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify Business Debt - Personally Guaranteed
          Is the claim subject to offset?
              No
              Yes

  4.19 LendNation                                                            Last 4 digits of account number
                                                                                                                                               $ Unknown
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          1716 Central Ave                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                                Contingent
                        Street
          Kansas City KS                 66102                                  Unliquidated
          City                State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                      Schedule E/F: Creditors Who Have Unsecured Claims                     page 7 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name        Middle Name   Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                       09:07:13          Desc Main
                                                                                                            number(if known)

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  4.20 Merrick Bank                                                     Last 4 digits of account number 2271
                                                                                                                                           $ 1,485.96
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 660702                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Dallas TX           75266-0702                                   Unliquidated
          City      State     ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.21 Navy Federal Credit Union                                        Last 4 digits of account number 1971
                                                                                                                                          $ 25,144.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 3700                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Merrifield VA           22119                                    Unliquidated
          City           State    ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.22 PNC Bank                                                         Last 4 digits of account number
                                                                                                                                            $ 198.15
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          300 Fifth Ave                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Pittsburgh PA           15222                                    Unliquidated
          City            State   ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                      page 8 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name           Middle Name   Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                          09:07:13          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 26 of 69
  4.23 Quill                                                               Last 4 digits of account number
                                                                                                                                             $ 334.48
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          100 Schelter Rd                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Lincolnshire IL               60069                                 Unliquidated
          City                State     ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Business Debt - Personally Guaranteed
          Is the claim subject to offset?
              No
              Yes

  4.24 Speedy Cash                                                         Last 4 digits of account number 5300
                                                                                                                                             $ 957.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          Attn: Bankruptcy                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          PO Box 782260                                                       Unliquidated
                                                                              Disputed
          Wichita KS             67278-2260
                                                                           Type of NONPRIORITY unsecured claim:
          City        State      ZIP Code
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.25 The Kansas City Star                                                Last 4 digits of account number 8003
                                                                                                                                               $ 24.68
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          1601 McGee St                                                    As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Kansas City MO                64108                                 Unliquidated
          City                State     ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                    page 9 of 12
                 Adrena Monique Mason
 Debtor          Case    23-41280-btf7
                 First Name           Middle Name     Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                            09:07:13          Desc Main
                                                                                                                 number(if known)

                                                                           Document      Page 27 of 69
  4.26 UMKC                                                                  Last 4 digits of account number
                                                                                                                                                 $ 188.69
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          5115 Oak Street                                                    As of the date you file, the claim is: Check all that apply.
          Number                                                                Contingent
                        Street
          Apt. 112                                                              Unliquidated
                                                                                Disputed
          Kansas City MO                 64110
                                                                             Type of NONPRIORITY unsecured claim:
          City                State      ZIP Code
          Who owes the debt? Check one.                                        Student loans
              Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                        debts
              At least one of the debtors and another                          Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.27 US Dept of Education                                                  Last 4 digits of account number
                                                                                                                                               $ 32,377.00
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          Office of the Secretary                                            As of the date you file, the claim is: Check all that apply.
          Number                                                                Contingent
                        Street
          400 Maryland Ave SW, Room 4181                                        Unliquidated
                                                                                Disputed
          Washington DC                  20202
                                                                             Type of NONPRIORITY unsecured claim:
          City                State      ZIP Code
          Who owes the debt? Check one.                                        Student loans
              Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                        debts
              At least one of the debtors and another                          Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.28 Webbank/Fingerhut                                                     Last 4 digits of account number 6467
                                                                                                                                                $ 1,696.00
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          215 State Street                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                                Contingent
                        Street
          Suite 1000                                                            Unliquidated
                                                                                Disputed
          Salt Lake City UT                84111
                                                                             Type of NONPRIORITY unsecured claim:
          City                   State     ZIP Code
          Who owes the debt? Check one.                                        Student loans
              Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                        debts
              At least one of the debtors and another                          Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.




Official Form 106E/F                                                      Schedule E/F: Creditors Who Have Unsecured Claims                     page 10 of 12
               Adrena Monique Mason
 Debtor        Case    23-41280-btf7
               First Name              Middle Name   Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                           09:07:13          Desc Main
                                                                                                                number(if known)

                                                                          Document      Page 28 of 69

        A.R.M. Solutions, Inc                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.25 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 2929
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        Camarillo CA                93011                                              Claims
        City           State        ZIP Code                                           Last 4 digits of account number


        Authorize.Net, Inc                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.18 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 8999
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        San Francisco CA                  94128                                        Claims
        City                   State      ZIP Code                                     Last 4 digits of account number


        Blitt and Gaines, PC                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.3     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        775 Corporate Woods Parkway
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        Vernon Hills IL                60061                                           Claims
        City                State      ZIP Code                                        Last 4 digits of account number


        Brumbaugh & Quandahl, P.C.                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.8     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        1155 Adams St
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 125                                                                      Claims
                                                                                       Last 4 digits of account number
        Kansas City KS                 66103
        City                State      ZIP Code

        Client Services, Inc.                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.14 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        3451 Harry S Truman Blvd.
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        Saint Charles MO                 63301-4047                                    Claims
        City                 State       ZIP Code                                      Last 4 digits of account number


        Client Services, Inc.                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.10 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        3451 Harry S Truman Blvd.
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        Saint Charles MO                 63301-4047                                    Claims
        City                 State       ZIP Code                                      Last 4 digits of account number


        Firestone Complete Auto Care                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.14 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        16675 E 23rd St S
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        Independence MO                   64055                                        Claims
        City                   State      ZIP Code                                     Last 4 digits of account number


        National Enterprise Systems                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                       Line 4.22 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2479 Edison Blvd
        Number                                                                                                               Part 2: Creditors with Nonpriority Unsecured
                   Street
        Unit A                                                                         Claims
                                                                                       Last 4 digits of account number
        Twinsburg OH                44087
        City            State       ZIP Code




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 11 of 12
               Adrena Monique Mason
 Debtor        Case    23-41280-btf7
               First Name             Middle Name   Last Name   Doc 1     Filed 09/15/23 Entered 09/15/23 Case
                                                                                                          09:07:13          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 29 of 69
                                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
        US Attorney - Western District of Missouri
        Creditor’s Name                                                               Line 4.27 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        ATTN Bankruptcy Processing Clerk                                                                                    Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                             Claims
        400 E 9th Street, Room 5510
                                                                                      Last 4 digits of account number
        Kansas City MO                64106
        City                State     ZIP Code

        US Dept of Education, Office of General Counsel                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                      Line 4.27 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Div of Post Secondary Education
        Number                                                                                                              Part 2: Creditors with Nonpriority Unsecured
                   Street
        400 Maryland Ave SW, Room 6E353                                               Claims
                                                                                      Last 4 digits of account number
        Washington DC                 20202-2110
        City                State     ZIP Code

        US Dept of Education, Office of Post Secondary Education                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                      Line 4.27 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Region IX, Litigation Support Branch
        Number                                                                                                              Part 2: Creditors with Nonpriority Unsecured
                   Street
        50 Beal Street, Suite 8629                                                    Claims
                                                                                      Last 4 digits of account number
        San Francisco CA                 94150
        City                  State      ZIP Code

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                                      Total claim

   Total claims        6a. Domestic support obligations                                                     6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                                        6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were                               6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that                       6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                                  6e.
                                                                                                                   $ 0.00



                                                                                                                      Total claim

   Total claims        6f. Student loans                                                                    6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                             6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                              6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that                    6i.   $ 121,235.32
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                                  6j.
                                                                                                                   $ 121,235.32




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 12 of 12
              Case 23-41280-btf7                        Doc 1    Filed 09/15/23 Entered 09/15/23 09:07:13                           Desc Main
                                                                Document      Page 30 of 69
  Fill in this information to identify your case:

  Debtor 1
                     Adrena Monique Mason
                      First Name                                Last Name
                                          Middle Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: Western District of Missouri

  Case number                                                                                                                              Check if this is
  (if know)                                                                                                                                an amended
                                                                                                                                           filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                         State what the contract or lease is for

 2.1                                                                                      Bedroom Set including bed, dresser, chest of drawers, etc Lessee
          American First Finance
          Name
          PO Box 565848
          Street
          Dallas TX            75356
          City       State     ZIP Code




Official Form 106G                                           Schedule G: Executory Contracts and Unexpired Leases                                   page 1 of 1
              Case 23-41280-btf7                Doc 1    Filed 09/15/23 Entered 09/15/23 09:07:13                        Desc Main
                                                        Document      Page 31 of 69
Fill in this information to identify your case:

Debtor 1
                Adrena Monique Mason
                     First Name                      Last Name
                                  Middle Name

Debtor 2
(Spouse, if filing) First Name         Middle Name
                                                          Last Name



United States Bankruptcy Court for the: Western District of Missouri

Case number                                                                                                                      Check if this is
(if know)                                                                                                                        an amended
                                                                                                                                 filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                              12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt
                                                                                        Check all schedules that apply:




Official Form 106H                                                Schedule H: Your Codebtors                                              page 1 of 1
               Case 23-41280-btf7               Doc 1        Filed 09/15/23 Entered 09/15/23 09:07:13                            Desc Main
                                                            Document      Page 32 of 69
 Fill in this information to identify your case:

                      Adrena Monique Mason
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Western District of MissouriDistrict
                                                                                    tate)
 Case number         ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed                                   ✔ Employed
    information about additional          Employment status                                                           
    employers.                                                             Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Office Supervisor                           Millwright Tech
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                           University of Missouri                      LGSTX Services
                                         Employer’s name                __________________________________            __________________________________


                                         Employer’s address                UMKC School of Denistry
                                                                        _______________________________________        145 Hunter Dr
                                                                                                                    ________________________________________
                                                                         Number Street                               Number    Street
                                                                           650 E 25th St, Suite 277
                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Kansas City, MO 64108
                                                                        _______________________________________         Wilmington, OH 45177
                                                                                                                    ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   Since 5/30/2017                                    ________________________
                                                                                                                       Since 1/2021


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.       5,000.00               7,001.69
                                                                                                  $___________          $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      + $____________
                                                                                                                                0.00

 4. Calculate gross income. Add line 2 + line 3.                                            4.       5,000.00
                                                                                                  $__________               7,001.69
                                                                                                                        $____________




Official Form 106I                                                  Schedule I: Your Income                                                    page 1
             Case 23-41280-btf7 Doc 1
              Adrena Monique Mason
                                                                         Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor 1         _______________________________________________________Document      Page 33 of Case
                                                                                                  69 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.      5,000.00
                                                                                                                        $___________              7,001.69
                                                                                                                                              $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.         427.16
                                                                                                                        $____________             1,098.39
                                                                                                                                              $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.         400.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.         100.00
                                                                                                                        $____________               558.26
                                                                                                                                              $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________                70.05
                                                                                                                                              $_____________
     5e. Insurance                                                                                               5e.          95.09
                                                                                                                        $____________               505.16
                                                                                                                                              $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________               553.52
                                                                                                                                              $_____________
                                                                                                                               0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5g. Union dues                                                                                              5g.
                                     Disability Insurance, HSA                                                   5h. + $____________
     5h. Other deductions. Specify: __________________________________                                                       10.00          + $_____________
                                                                                                                                                     83.33
     Disability Insurance
    _____________________________________________________________                                                       $____________                  9.21
                                                                                                                                              $____________
     Shift Differential
    _____________________________________________________________                                                       $____________                57.11
                                                                                                                                              $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.       1,032.25
                                                                                                                        $____________             2,935.03
                                                                                                                                              $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       3,967.75
                                                                                                                        $____________             4,066.66
                                                                                                                                              $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00                    0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                             300.00                     0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.         300.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           4,267.75
                                                                                                                        $___________    +         4,066.66
                                                                                                                                              $_____________      = $_____________
                                                                                                                                                                       8,334.41

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       8,334.41
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
               Case 23-41280-btf7                Doc 1        Filed 09/15/23 Entered 09/15/23 09:07:13                                        Desc Main
                                                             Document      Page 34 of 69
  Fill in this information to identify your case:

                     Adrena Monique Mason
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Western District of Missouri
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                    expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Daughter                                 15 years       No
                                                                                          _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                           Son
                                                                                          _________________________                 12 years
                                                                                                                                   ________        No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                           Son
                                                                                          _________________________                 3 years
                                                                                                                                   ________        No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                           Stepdaughter (in college)
                                                                                          _________________________                 19 years
                                                                                                                                   ________        No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,762.67
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                       0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   150.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
               Case 23-41280-btf7                 Doc 1           Filed 09/15/23 Entered 09/15/23 09:07:13                     Desc Main
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                    Adrena Monique Mason
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      250.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                      237.50
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      620.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                    1,200.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                      350.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      200.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      100.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      200.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      300.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                       85.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                         0.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
                              American First Finance (bedroom set)
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                      266.57
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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                                                               Document      Page 36 of 69
                   Adrena Monique Mason
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Misc. (postage, gifts, prof. fees, bank fees, parking, etc.)
                                                                                                                                        125.00
                                                                                                                   21.   +$_____________________
Non-filing Spouse's Monthly Expenses
______________________________________________________________________________________                                                2,483.47
                                                                                                                         +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 8,330.21
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 8,330.21
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       8,334.41
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 8,330.21
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                       4.20
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
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                                  Non-filing Spouse’s Debt Payments


Vehicle (2018 Ford F-150)                                    $754.16
Vehicle Insurance                                            $174.64
Personal Property Taxes & License                            $ 75.00
Vehicle Operating Expenses                                   $700.00
Debt Consolidation Program                                   $554.67
Medical Debts                                                $ 75.00
College Assistance to Stepdaughter                           $150.00
                 Case 23-41280-btf7                 Doc 1     Filed 09/15/23 Entered 09/15/23 09:07:13                           Desc Main
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Fill in this information to identify your case:

Debtor 1           Adrena Monique Mason
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Western District of Missouri District of __________
                                                                               (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Adrena Monique Mason
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              09/14/2023
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
               Case 23-41280-btf7                          Doc 1       Filed 09/15/23 Entered 09/15/23 09:07:13                                        Desc Main
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 Fill in this information to identify your case:

                    Adrena Monique Mason
 Debtor 1
                    First Name             Middle Name         Last Name

 Debtor 2
 (Spouse, if filing)   First Name            Middle Name         Last Name



 United States Bankruptcy Court for the: Western District of Missouri

 Case number
 (if know)                                                                                                                                                         Check if this is
                                                                                                                                                                   an amended
                                                                                                                                                                   filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                        4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                                     Dates Debtor 1               Debtor 2:                                               Dates Debtor 2
                                                                      lived there                                                                          lived there

                                                                                                        Same as Debtor 1                                        Same as Debtor 1
                                                                             From 05/17                                                                         From
        12123 E 31st St S
                                                                             To 08/21                                                                           To
        Number                                                                                          Number
                       Street                                                                                      Street
        Independence MO                 64052
        City                    State   ZIP Code                                                        City     State   ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                           Debtor 1                                                 Debtor 2

                                                                           Sources of income         Gross income                   Sources of income         Gross income
                                                                           Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                     exclusions)                                              exclusions)

         From January 1 of current year until the date                        Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                            bonuses, tips      $ 32,394.11                           bonuses, tips      $
                                                                              Operating a business                                     Operating a business




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 7
               Case 23-41280-btf7                       Doc 1      Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor          Adrena Monique Mason
               First Name     Middle Name   Last Name
                                                                  Document      Page 40 of 69     Case number(if known)



          For last calendar year:                                       Wages, commissions,                                      Wages, commissions,
                                                                        bonuses, tips      $ 46,549.84                           bonuses, tips      $
          (January 1 to December 31, 2022
                                                                        Operating a business                                     Operating a business


          For the calendar year before that:                            Wages, commissions,                                      Wages, commissions,
                                                                        bonuses, tips      $ 45,917.54                           bonuses, tips      $
          (January 1 to December 31, 2021
                                                                        Operating a business                                     Operating a business


5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.



Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 2 of 7
               Case 23-41280-btf7                        Doc 1      Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor          Adrena Monique Mason
               First Name     Middle Name    Last Name
                                                                   Document      Page 41 of 69     Case number(if known)



                                                              Nature of the case                      Court or agency                             Status of the
                                                                                                                                                  case

    Case title:                                               Civil; Date filed: 01/30/2019                                                           Pending
    C&F Finance Company v                                                                             Circuit Court of Jackson County, Missouri       On appeal
    Adrena Johnson                                                                                    Court Name
    Case number: 1916-CV02655                                                                                                                         Concluded
                                                                                                      415 E 12th St., Unit 300
                                                                                                      Number
                                                                                                                 Street
                                                                                                      Kansas City MO          64106
                                                                                                      City            State   ZIP Code
    Case title:                                               Civil; Date filed: 08/07/2023                                                           Pending
    Capital One , N.A. V Adrena                                                                       Circuit Court of Jackson County, Missouri       On appeal
    Johnson                                                                                           Court Name
    Case number: 2316-CV20844                                                                                                                         Concluded
                                                                                                      415 E 12th St., Unit 300
                                                                                                      Number
                                                                                                                 Street
                                                                                                      Kansas City MO          64106
                                                                                                      City            State   ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 3 of 7
                 Case 23-41280-btf7                              Doc 1      Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor            Adrena Monique Mason
                 First Name            Middle Name   Last Name
                                                                           Document      Page 42 of 69     Case number(if known)



                                                                         Description and value of any property transferred                    Date payment or Amount of
                                                                                                                                              transfer was    payment
                                                                                                                                              made
                                                                        Pre-Filing Credit Counseling                                            08/07/2023     $ 19.95
          001 Debtorcc, Inc                                                                                                                                    $
          Person Who Was Paid
          378 Summit Avenue
          Number
                         Street
          Jersey City NJ                07306
          City                State     ZIP Code
          https://www.debtorcc.org/
          Email or website address


          Person Who Made the Payment, if Not You

                                                                         Description and value of any property transferred                    Date payment or Amount of
                                                                                                                                              transfer was    payment
                                                                                                                                              made
                                                                        Chapter 7 Bankruptcy Attorney Fees                                      3/2/2023       $ 1,400.00
          The Law Offices of Tracy L. Robinson, LC                                                                                                             $
          Person Who Was Paid
          600 E 8th Street
          Number
                         Street
          Suite A

          Kansas City MO                  64106
          City                 State      ZIP Code
          admin@tlrlaw.com
          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
                                                         Last 4 digits of account                Type of account or            Date account was       Last balance before
                                                         number                                  instrument                    closed, sold, moved,   closing or transfer
                                                                                                                               or transferred




Official Form 107                                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4 of 7
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Debtor           Adrena Monique Mason
                First Name       Middle Name   Last Name
                                                                     Document      Page 43 of 69     Case number(if known)



         UMB Bank (negative balance                                                             Checking
         Name of Financial Institution              XXXX–                                                                 08/17/2023   $ 0.00
                                                                                                Savings
         when closed)                                                                           Money market
                                                                                                Brokerage
         Number                                                                                 Other
                      Street
         .        .          .
         City     State      ZIP Code

         PayPal                                                                                 Checking
         Name of Financial Institution              XXXX–                                                                 06/01/2023   $ 0.00
                                                                                                Savings
                                                                                                Money market
         Number
                      Street                                                                    Brokerage
         .        .          .
                                                                                               Other
         City     State      ZIP Code                                                       Peer to Peer Banking
                                                                                            (PayPal)


21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:         Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:         Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:         Give Details About Your Business or Connections to Any Business




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy               page 5 of 7
              Case 23-41280-btf7                       Doc 1      Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor         Adrena Monique Mason
              First Name    Middle Name    Last Name
                                                                 Document      Page 44 of 69     Case number(if known)



27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                page 6 of 7
              Case 23-41280-btf7                           Doc 1      Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor         Adrena Monique Mason
              First Name         Middle Name   Last Name
                                                                     Document      Page 45 of 69     Case number(if known)




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Adrena Monique Mason
         Signature of Debtor 1                                                   Signature of Debtor 2

         Date 09/14/2023                                                         Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7 of 7
                Case 23-41280-btf7                      Doc 1         Filed 09/15/23 Entered 09/15/23 09:07:13                                    Desc Main
                                                                     Document      Page 46 of 69

  Fill in this information to identify your case:

                     Adrena Monique Mason
   Debtor 1
                     First Name         Middle Name            Last Name

   Debtor 2
   (Spouse, if filing)   First Name       Middle Name            Last Name



   United States Bankruptcy Court for the: Western District of Missouri

   Case number
   (if known)
                                                                                                                                                             Check if this is
                                                                                                                                                             an amended
                                                                                                                                                             filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                         12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever
is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and
date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                        Surrender the property.                              No
   name:                 The Money Source, Inc
                                                                                     Retain the property and redeem it.                   Yes
   Description of 2201 N York St                                                     Retain the property and enter into a
   property
                                                                                     Reaffirmation Agreement.
   securing debt:
                                                                                     Retain the property and [explain]:




 Part 2:       List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
      Describe your unexpired personal property leases                                                                          Will the lease be assumed?
   Lessor's                                                                                                                       No
   name:                 American First Finance
                                                                                                                                  Yes
   Description of leased
   property: Bedroom Set including bed, dresser, chest of drawers, etc




 Official Form 108                                              Statement of Intention for Individuals Filing Under Chapter 7                                       page 1 of 2
             Case 23-41280-btf7           Doc 1       Filed 09/15/23 Entered 09/15/23 09:07:13 Desc Main
Debtor        Adrena Monique Mason                   Document      Page 47 of 69     Case number(if known)



Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ Adrena Monique Mason
       Signature of Debtor 1                                                  Signature of Debtor 2


     Date 09/14/2023                                                        Date 09/14/2023
            MM/DD/YYYY                                                              MM/DD/YYYY




Official Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                           page 2 of 2
              Case 23-41280-btf7                  Doc 1        Filed 09/15/23 Entered 09/15/23 09:07:13                                Desc Main
 Fill in this information to identify your case:
                                                              Document      Page 48 of 69
                                                                                                        Check one box only as directed in this form and in
                                                                                                        Form 122A-1Supp:
 Debtor 1         Adrena   Monique Mason
                  __________________________________________________________________
                     First Name               Middle Name                 Last Name
                                                                                                         1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                 Last Name                     
                                                                                                        ✔ 2. The calculation to determine if a presumption of
                                                                                                              abuse applies will be made under Chapter 7
                                         Western District
 United States Bankruptcy Court for the: ____________      ofofMissouri
                                                      District  _______________
                                                                                                              Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                          3. The Means Test does not apply now because of
 (If known)
                                                                                                              qualified military service but it could apply later.


                                                                                                         Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        
        ✔ Married and your spouse is NOT filing with you. You and your spouse are:
          
          ✔ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A             Column B
                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                               non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                      3,859.67
                                                                                                           $_________            6,884.57
                                                                                                                                $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                0.00
                                                                                                           $_________            0.00
                                                                                                                                $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                              300.00
                                                                                                           $_________            0.00
                                                                                                                                $__________

   5. Net income from operating a business, profession,
                                                                          Debtor 1    Debtor 2
      or farm
      Gross receipts (before all deductions)                                 0.00
                                                                            $______    0.00
                                                                                      $______
        Ordinary and necessary operating expenses                           0.00 – $______
                                                                         – $______  0.00
                                                                                                 Copy
        Net monthly income from a business, profession, or farm              0.00
                                                                            $______    0.00
                                                                                      $______ here         0.00
                                                                                                           $_________            0.00
                                                                                                                                $__________

   6. Net income from rental and other real property                      Debtor 1    Debtor 2
      Gross receipts (before all deductions)                                 0.00
                                                                            $______    0.00
                                                                                      $______
        Ordinary and necessary operating expenses                           0.00 – $______
                                                                         – $______  0.00
                                                                                                 Copy
        Net monthly income from rental or other real property               $______    0.00
                                                                                      $______ here         0.00
                                                                                                           $_________            0.00
                                                                                                                                $__________
  7. Interest, dividends, and royalties                                                                     0.00
                                                                                                           $_________            0.00
                                                                                                                                $__________



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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                                                                                          Document      Page 49 of 69

Debtor 1           Adrena   Monique Mason
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................     0.00
                                                                                                         $______________
            For your spouse ..................................................................             0.00
                                                                                                         $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                     0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                      0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
           ______________________________________                                                                                      0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
           Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                                 + $_________                      0.00
                                                                                                                                                               + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                             4,159.67
                                                                                                                                     $_________
                                                                                                                                                           +        6,884.57
                                                                                                                                                                  $___________
                                                                                                                                                                                      = $__________
                                                                                                                                                                                         11,044.24
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          11,044.24
                                                                                                                                                                                       $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.      132,530.88
                                                                                                                                                                                       $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                    MO

       Fill in the number of people in your household.                                                   6

       Fill in the median family income for your state and size of household. ................................................................................................. 13.      129,102.00
                                                                                                                                                                                       $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



            ✔ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
       14b. 
                       Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                  page 2
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Debtor 1     Adrena   Monique Mason
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Adrena Monique Mason
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       09/14/2023
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
               Case 23-41280-btf7                                 Doc 1             Filed 09/15/23 Entered 09/15/23 09:07:13                                              Desc Main
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  Fill in this information to identify your case:                                                                                                    Check the appropriate box as directed in
                                                                                                                                                     lines 40 or 42:

  Debtor 1           Adrena Monique Mason
                    _________________________________________________________________                                                                According to the calculations required by this
                      First Name                             Middle Name                          Last Name
                                                                                                                                                     Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                             Middle Name                          Last Name                                          ✔
                                                                                                                                                      1. There is no presumption of abuse.
  United States Bankruptcy Court for the: Western District of Missouri
                                          ______________________                                  District of __________                              2. There is a presumption of abuse.
                                                                                                                (State)
  Case number         ___________________________________________
  (If known)
                                                                                                                                                      Check if this is an amended filing



Official Form 122A–2
Cha pt e r 7 M e a ns T e st Ca lc ula t ion                                                                                                                                                 4/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Pa rt 1 :        De t e rm ine Y our Adjust e d I nc om e



1. Copy your total current monthly income. ........................................................ Copy line 11 from Official Form 122A-1 here ............1.                            11,044.24
                                                                                                                                                                                         $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

     No. Fill in $0 for the total on line 3.
     Yes. Is your spouse filing with you?
    ✔
          No. Go to line 3.
         ✔
          Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly
    used for the household expenses of you or your dependents?

     No. Fill in 0 for the total on line 3.
     Yes. Fill in the information below:
    ✔

               State each purpose for which the income was used                                                           Fill in the amount you
               For example, the income is used to pay your spouse’s tax debt or to support                                are subtracting from
               people other than you or your dependents                                                                   your spouse’s income


                 Non-filing spouse's debt payments (debt consolidation, child
                ___________________________________________________      2,483.47
                                                                              support, vehicle payments, etc.)
                                                                        $______________


                ___________________________________________________                                                          0.00
                                                                                                                            $______________

                ___________________________________________________                                                          0.00
                                                                                                                          + $______________
            Total. . .............................................................................................           2,483.47
                                                                                                                            $______________
                                                                                                                                                   Copy total here ...............    ─ $_________
                                                                                                                                                                                           2,483.47


4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                           8,560.77
                                                                                                                                                                                         $_________




  Official Form 122A-2                                                                Chapter 7 Means Test Calculation                                                                    page 1
             Case 23-41280-btf7                            Doc 1            Filed 09/15/23 Entered 09/15/23 09:07:13                                               Desc Main
                                                                           Document      Page 52 of 69
Debtor 1       Adrena   Monique Mason
                _______________________________________________________                                                           Case number (if known)_____________________________________
                 First Name          Middle Name               Last Name




Pa rt 2 :       Ca lc ula t e Y our De duc t ions from Y our I nc om e


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



    5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.                                                                                                                      6


    National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.                                                                                                                   2,705.00
                                                                                                                                                                                 $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
      the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are under 65 and
      people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your actual expenses are
      higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.     Out-of-pocket health care allowance per person
                                                                                        79.00
                                                                                       $____________


       7b.     Number of people who are under 65
                                                                                         6
                                                                                       X ______

       7c.     Subtotal. Multiply line 7a by line 7b.                                   474.00
                                                                                       $____________              Copy here              474.00
                                                                                                                                         $___________




            People who are 65 years of age or older


       7d.     Out-of-pocket health care allowance per person
                                                                                        154.00
                                                                                       $____________

       7e.     Number of people who are 65 or older                                    X ______


       7f.     Subtotal. Multiply line 7d by line 7e.                                   0.00
                                                                                       $____________
                                                                                                                  Copy here              0.00
                                                                                                                                       + $___________

       7g.     Total. Add lines 7c and 7f......................................................................................            474.00
                                                                                                                                         $___________        Copy total here
                                                                                                                                                                                  474.00
                                                                                                                                                                                 $________




Official Form 122A-2                                                          Chapter 7 Means Test Calculation                                                                    page 2
             Case 23-41280-btf7                Doc 1           Filed 09/15/23 Entered 09/15/23 09:07:13                            Desc Main
               Adrena   Monique Mason
                                                              Document      Page 53 of 69
Debtor 1        _______________________________________________________                           Case number (if known)_____________________________________
                First Name    Middle Name         Last Name




   Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
   purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses.                                                              863.00
                                                                                                                                             $____________

   9. Housing and utilities – Mortgage or rent expenses:

      9a. Using the number of people you entered in line 5, fill in the dollar amount listed
                                                                                                                   1,409.00
                                                                                                                  $___________
             for your county for mortgage or rent expenses.                                               9a.


      9b.    Total average monthly payment for all mortgages and other debts secured by your home.


             To calculate the total average monthly payment, add all amounts that are
             contractually due to each secured creditor in the 60 months after you file for
             bankruptcy. Then divide by 60.

              Name of the creditor                                          Average monthly
                                                                            payment



              The Money Source, Inc
              ___________________________________                               1,762.67
                                                                               $__________


              ___________________________________                             $__________


                                                      0.00
              ___________________________________ + $__________

                                                                                                 Copy                              Repeat this
                                 Total average monthly payment                  1,762.67
                                                                               $__________
                                                                                                 here
                                                                                                                ─ $___________
                                                                                                                   1,762.67        amount on
                                                                                                                                   line 33a.

       9c.    Net mortgage or rent expense.
              Subtract line 9b (total average monthly payment) from line 9a (mortgage or                           0.00
              rent expense). If this amount is less than $0, enter $0.                                    9c.     $___________     Copy       0.00
                                                                                                                                             $___________
                                                                                                                                   here



   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                   0.00
                                                                                                                                             $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

      Explain           _________________________________________________________________
      why:
                        _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       1. Go to line 12.
       
       ✔ 2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                    450.00
                                                                                                                                             $___________



Official Form 122A-2                                           Chapter 7 Means Test Calculation                                                   page 3
             Case 23-41280-btf7                          Doc 1           Filed 09/15/23 Entered 09/15/23 09:07:13                                     Desc Main
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                                                                        Document      Page 54 of 69
Debtor 1            _______________________________________________________                                          Case number (if known)_____________________________________
                    First Name         Middle Name          Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


       Vehicle 1                 Describe Vehicle 1:    _______________________________________________________________
                                                        _______________________________________________________________


       13a.        Ownership or leasing costs using IRS Local Standard                                                    13a.         629.00
                                                                                                                                     $___________

       13b.        Average monthly payment for all debts secured by Vehicle 1.
                   Do not include costs for leased vehicles.
                   To calculate the average monthly payment here and on line 13e, add all
                   amounts that are contractually due to each secured creditor in the 60 months
                   after you filed for bankruptcy. Then divide by 60.

                        Name of each creditor for Vehicle 1                         Average monthly
                                                                                    payment

                     _____________________________________                               0.00
                                                                                       $____________

                     _____________________________________                        + $____________
                                                                                      0.00

                                                                                                                  Copy                                Repeat this
                                        Total average monthly payment                    0.00
                                                                                       $____________                              ─ $____________
                                                                                                                                      0.00            amount on
                                                                                                                  here                               line 33b.

                                                                                                                                                     Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                                 Vehicle 1
                  Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ..............................           0.00
                                                                                                                                    $____________    expense
                                                                                                                                                     here ..... 
                                                                                                                                                                      0.00
                                                                                                                                                                    $_________


       Vehicle 2                 Describe Vehicle 2:    _______________________________________________________________
                                                        _______________________________________________________________

           13d.     Ownership or leasing costs using IRS Local Standard                                                    13d.        629.00
                                                                                                                                     $____________

           13e.     Average monthly payment for all debts secured by Vehicle 2.
                    Do not include costs for leased vehicles.

                        Name of each creditor for Vehicle 2                         Average monthly
                                                                                    payment


                     _____________________________________                               0.00
                                                                                       $____________



                     _____________________________________                         + $____________
                                                                                       0.00

                                                                                                                    Copy                              Repeat this
                                         Total average monthly payment                  0.00
                                                                                       $____________                              ─ $____________
                                                                                                                                     0.00             amount on
                                                                                                                    here                             line 33c.

                                                                                                                                                     Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                                 Vehicle 2
                  Subtract line 13e from 13d. If this amount is less than $0, enter $0. ......................................
                                                                                                                                            0.00
                                                                                                                                    $____________    expense
                                                                                                                                                     here ... 
                                                                                                                                                                     0.00
                                                                                                                                                                    $________


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.
                                                                                                                                                                      0.00
                                                                                                                                                                    $________


    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
        deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
        more than the IRS Local Standard for Public Transportation.                                                                                                  0.00
                                                                                                                                                                    $________




Official Form 122A-2                                                     Chapter 7 Means Test Calculation                                                            page 4
           Case 23-41280-btf7                    Doc 1          Filed 09/15/23 Entered 09/15/23 09:07:13                           Desc Main
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Debtor 1    Adrena  Monique Mason
             _______________________________________________________                             Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your                          625.55
                                                                                                                                                 $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
                                                                                                                                                   400.00
                                                                                                                                                 $________
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                  26.39
                                                                                                                                                 $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                   553.52
                                                                                                                                                 $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.
                                                                                                                                                   0.00
                                                                                                                                                 $________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.
                                                                                                                                                   250.00
                                                                                                                                                 $_______


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                  0.00
                                                                                                                                                 $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it       +      0.00
                                                                                                                                                 $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 22A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                           6,347.46
                                                                                                                                                 $_______
       Add lines 6 through 23.




Official Form 122A-2                                            Chapter 7 Means Test Calculation                                                 page 5
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Debtor 1    _______________________________________________________                           Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                            573.86
                                                                  $____________

       Disability insurance                                        0.00
                                                                  $____________

       Health savings account                                 +    83.33
                                                                  $____________

       Total                                                       657.19
                                                                  $____________                  Copy total here .....................................    657.19
                                                                                                                                                          $________

       Do you actually spend this total amount?

        No. How much do you actually spend?                      $___________
       
       ✔ Yes

   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
                                                                                                                                                           0.00
                                                                                                                                                          $________
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of                              0.00
                                                                                                                                                          $_______
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
      on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage
                                                                                                                                                           0.00
                                                                                                                                                          $________
      housing and utilities allowance, then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.



   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
                                                                                                                                                           0.00
                                                                                                                                                          $_______
      elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

                                                                                                                                                           0.00
                                                                                                                                                          $_______
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


                                                                                                                                                           0.00
                                                                                                                                                          $_______
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


                                                                                                                                                           657.19
                                                                                                                                                          $_______
   32. Add all of the additional expense deductions.
       Add lines 25 through 31.




Official Form 122A-2                                         Chapter 7 Means Test Calculation                                                             page 6
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Debtor 1        Adrena  Monique Mason
                 _______________________________________________________                                                         Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33g.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                           Average monthly
                                                                                                                                           payment
                   Mortgages on your home:

           33a. Copy line 9b here ....................................................................................................        1,762.67
                                                                                                                                             $_____________

                   Loans on your first two vehicles:                                                                   
           33b. Copy line 13b here. ................................................................................................          0.00
                                                                                                                                             $_____________

           33c. Copy line 13e here. ...............................................................................................          0.00
                                                                                                                                             $_____________
           33d. List other secured debts:                                                                              
                                                                             Identify property that                 Does payment
           Name of each creditor for other                                                                          include taxes or
           secured debt                                                      secures the debt
                                                                                                                    insurance?


                 _______________________________                             ________________________
                                                                                                                        No                    0.00
                                                                                                                                             $____________
                                                                                                                        Yes

                 _______________________________                             ________________________
                                                                                                                        No                    0.00
                                                                                                                                             $____________
                                                                                                                        Yes
                                                                                                                        No                    0.00
                _______________________________                              ________________________                                      + $____________
                                                                                                                        Yes
                                                                                                                                                1,762.67        Copy total
      33e. Total average monthly payment. Add lines 33a through 33d. ...............................................                        $____________
                                                                                                                                                                here             1,762.67
                                                                                                                                                                                 $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

       
       ✔ No. Go to line 35.
        Yes. State any amount that you must pay to a creditor, in addition to the payments
                      listed in line 33, to keep possession of your property (called the cure amount).
                      Next, divide by 60 and fill in the information below.

    Name of the creditor                                Identify property that secures                Total cure                             Monthly cure
                                                        the debt                                      amount                                 amount

    ______________________________                      __________________________                  $___________ ÷ 60 =                      $_____________

    _____________________________                       __________________________                  $___________ ÷ 60 =                      $_____________

     _____________________________                      __________________________                  $___________ ÷ 60 =                    + $_____________
                                                                                                                                                                Copy total
                                                                                                                             Total                    0.00
                                                                                                                                             $_____________                       0.00
                                                                                                                                                                                 $________
                                                                                                                                                                here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

       
       ✔ No. Go to line 36.
        Yes. Fill in the total amount of all of these priority claims. Do not include current or
                      ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims .................................................................           0.00
                                                                                                                                             $____________      ÷ 60 =            0.00
                                                                                                                                                                                 $_________




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Debtor 1      Adrena   Monique Mason
                _______________________________________________________                                                     Case number (if known)_____________________________________
                First Name         Middle Name               Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
        No. Go to line 37.
       
       ✔ Yes. Fill in the following information.
                    Projected monthly plan payment if you were filing under Chapter 13                                                        0.00
                                                                                                                                             $_____________
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama and
                    North Carolina) or by the Executive Office for United States Trustees (for all
                    other districts).                                                                                                    x       6.7%
                                                                                                                                                 ______
                    To find a list of district multipliers that includes your district, go online using the
                    link specified in the separate instructions for this form. This list may also be
                    available at the bankruptcy clerk’s office.
                                                                                                                                                               Copy total
                    Average monthly administrative expense if you were filing under Chapter 13                                                0.00
                                                                                                                                             $_____________                     0.00
                                                                                                                                                                               $_________
                                                                                                                                                               here



   37. Add all of the deductions for debt payment.                                                                                                                              1,762.67
                                                                                                                                                                               $_________
       Add lines 33e through 36.


   Total Deductions from Income


   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS                                     6,347.46
                                                                                            $______________
      expense allowances ..............................................................

      Copy line 32, All of the additional expense deductions .........                        657.19
                                                                                            $______________

                                                                            1,762.67
      Copy line 37, All of the deductions for debt payment ............ + $______________

      Total deductions                                                                       8,767.32
                                                                                            $______________                       Copy total here                              8,767.32
                                                                                                                                                                               $_________


   Pa rt 3 :      De t e rm ine Whe t he r T he re I s a Pre sum pt ion of Abuse


   39. Calculate monthly disposable income for 60 months

       39a.    Copy line 4, adjusted current monthly income .....                            8,560.77
                                                                                            $_____________

       39b.    Copy line 38, Total deductions. .........                                  − $_____________
                                                                                              8,767.32

       39c.    Monthly disposable income. 11 U.S.C. § 707(b)(2).                             -206.55                              Copy line            -206.55
                                                                                            $_____________                                            $____________
               Subtract line 39b from line 39a.                                                                                   39c here

                For the next 60 months (5 years) .............................................................................................        x 60
                                                                                                                                                                      Copy
                                                                                                                                                    -12,393.00
       39d. Total. Multiply line 39c by 60. ................................................................................................. 39d. $____________                -12,393.00
                                                                                                                                                                      line 39d $________
                                                                                                                                                                      here


   40. Find out whether there is a presumption of abuse. Check the box that applies:

       
       ✔ The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
            Part 5.

        The line 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
            may fill out Part 4 if you claim special circumstances. Then go to Part 5.

        The line 39d is at least $9,075*, but not more than $15,150*. Go to line 41.
            * Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.


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                 First Name     Middle Name        Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information
            Schedules (Official Form 106Sum), you may refer to line 3b on that form.                              41a.
                                                                                                                         $___________

                                                                                                                         x   .25

            41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)
                                                                                                                         $___________              $________
                Multiply line 41a by 0.25.                                                                                               Copy
                                                                                                                                         here



   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

        Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

        Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
              of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Pa rt 4 :        Give De t a ils About Spe c ia l Circ um st a nc e s

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

   
   ✔ No. Go to Part 5.
    Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                for each item. You may include expenses you listed in line 25.


               You must give a detailed explanation of the special circumstances that make the expenses or income
               adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
               expenses or income adjustments.

                                                                                                                         Average monthly expense
                  Give a detailed explanation of the special circumstances
                                                                                                                         or income adjustment

                  _______________________________________________________________________________                        $__________________

                  _______________________________________________________________________________                        $__________________

                  _______________________________________________________________________________
                                                                                                                         $__________________

                  _______________________________________________________________________________                        $__________________




Pa rt 5 :      Sign Be low


               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                /s/ Adrena Monique Mason
                   ___________________________________________________               ___________________________________
                   Signature of Debtor 1                                                  Signature of Debtor 2


                        09/14/2023
                  Date _________________                                                        09/14/2023
                                                                                          Date _________________
                          MM / DD   / YYYY                                                     MM / DD    / YYYY



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A.R.M. Solutions, Inc                                     Celtic Bank/Indigo
PO Box 2929                                               PO Box 4499
Camarillo, CA 93011                                       Beaverton, OR 97076


American First Finance                                    Citibank/The Home Depot
PO Box 565848                                             Centralized BK Dept
Dallas, TX 75356                                          PO Box 790034
                                                          Saint Louis, MO 63179

American First Finance
PO Box 565848                                             Client Services, Inc.
Dallas, TX 75356                                          3451 Harry S Truman Blvd.
                                                          Saint Charles, MO 63301-4047

Authorize.Net, Inc
PO Box 8999                                               Credit First N.A.
San Francisco, CA 94128                                   6275 Eastland Rd
                                                          Brookpark, OH 44142

Blitt and Gaines, PC
775 Corporate Woods Parkway                               Credit One Bank
Vernon Hills, IL 60061                                    PO Box 98873
                                                          Las Vegas, NV 89193

Blue World Pools
120 Interstate N Pkwy E SE #426                           Discover Bank
Atlanta, GA 30339                                         Inquiries/Bankruptcy Department
                                                          PO Box 30943
                                                          Salt Lake City, UT 84130
Brumbaugh & Quandahl, P.C.
1155 Adams St
Suite 125                                                 Firestone Complete Auto Care
Kansas City, KS 66103                                     16675 E 23rd St S
                                                          Independence, MO 64055

C&F Finance Company
1313 E Main St                                            Firestone/Bridgestone America's
Suite 400                                                 200 4th Avenue S
Richmond, VA 23219                                        Nashville, TN 37201


Capital One Bank (USA) NA / Quicksilver                   Home Depot Credit Services
Inquiries/Bankruptcy Department                           PO Box 790340
PO Box 30285                                              Wyanet, IL 61379
Salt Lake City, UT 84130-0285

                                                          Inc Authority
Capital One Bank (USA) NA / WalMart                       1450 Vassar St
Inquiries/Bankruptcy Department                           Reno, NV 89502
PO Box 30285
Salt Lake City, UT 84130-0285
                                                          Independence Pediatrics
                                                          4731 S Cochise Dr
Cash Central of Missouri                                  Suite 100
84 E 2400 N                                               Independence, MO 64055
Logan, UT 84341

                                                          Landry & Jacobs, LLC
CashNetUSA                                                50 North Laura St., Suite 2500
175 W Jackson Blvd.                                       Jacksonville, FL 32202
Chicago, IL 60604
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LendNation                                               US Dept of Education
1716 Central Ave                                         Office of the Secretary
Kansas City, KS 66102                                    400 Maryland Ave SW, Room 4181
                                                         Washington, DC 20202

Merrick Bank
PO Box 660702                                            US Dept of Education, Office of General Couns
Dallas, TX 75266-0702                                    Div of Post Secondary Education
                                                         400 Maryland Ave SW, Room 6E353
                                                         Washington, DC 20202-2110
National Enterprise Systems
2479 Edison Blvd
Unit A                                                   US Dept of Education, Office of Post Secondar
Twinsburg, OH 44087                                      Region IX, Litigation Support Branch
                                                         50 Beal Street, Suite 8629
                                                         San Francisco, CA 94150
Navy Federal Credit Union
PO Box 3700
Merrifield, VA 22119                                     Webbank/Fingerhut
                                                         215 State Street
                                                         Suite 1000
PNC Bank                                                 Salt Lake City, UT 84111
300 Fifth Ave
Pittsburgh, PA 15222


Quill
100 Schelter Rd
Lincolnshire, IL 60069


Speedy Cash
Attn: Bankruptcy
PO Box 782260
Wichita, KS 67278-2260


The Kansas City Star
1601 McGee St
Kansas City, MO 64108


The Money Source, Inc
Attn: Customer Care
500 South Broad Street, Suite 100A
Meriden, CT 06450


UMKC
5115 Oak Street
Apt. 112
Kansas City, MO 64110


US Attorney - Western District of Missouri
ATTN Bankruptcy Processing Clerk
400 E 9th Street, Room 5510
Kansas City, MO 64106
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                             United States Bankruptcy Court
                               Western District of Missouri




         Adrena Monique Mason
In re:                                                        Case No.

                                                              Chapter    7
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              09/14/2023                          /s/ Adrena Monique Mason
Date:
                                                 Signature of Debtor



                                                 Signature of Joint Debtor
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                    education-courses.
mailing address                                                 In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
Form 101). To ensure that you receive
                                                                If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                help you obtain the list.
any changes in your address.


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                                      United States Bankruptcy Court
                                                              Western District of Missouri
                                               __________________________________
     In re Adrena Monique Mason
                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,400.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,400.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
(a) Representation of the Debtor(s) in any adversary proceeding(s) to determine the dischargeability of debt(s), to revoke the discharge, etc.

(b) Filing any motion to reopen the case that is necessitated by the Debtor(s) failure to timely provide information or comply with the applicable law
or rules.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       09/14/2023                        /s/ Tracy L. Robinson, 36691
     _____________________              _________________________________________
     Date                                      Signature of Attorney
                                         The Law Offices of Tracy L. Robinson, LC
                                        _________________________________________
                                             ​Name of law firm
                                         600 E. 8th Street
                                         Suite A
                                         Kansas City, MO 64106
